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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
In re:
                                                        Case No. 23-11069 (CTG)
YELLOW CORPORATION, et al.1
                                                        (Jointly Administered)
         Debtors.
                                                        Obj. Deadline: Jan. 11, 2024 at 4:00 p.m. (ET)
                                                        Hearing Date: Jan. 22, 2024 at 2:00 p.m. (ET)

NOTICE OF MOTION OF AARON MISQUEZ FOR RELIEF FROM THE AUTOMATIC
     STAY PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY CODE

         PLEASE TAKE NOTICE that on December 28, 2023, Aaron Misquez (“Movant”) filed

the Motion of Aaron Misquez for Relief from the Automatic Stay Pursuant to Section 362(d) of the

Bankruptcy Code (the “Motion)” in the United States Bankruptcy Court for the District of

Delaware seeking relief from the automatic stay.

         PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed on

or before January 11, 2024 at 4:00 p.m. EST (the “Objection Deadline”) with the United States

Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market Street, Wilmington Delaware

19801. At the same time, you must serve a copy of any objection to the Motion for Relief on

Movant’s undersigned counsel on or before the Objection Deadline.

         PLEASE TAKE FURTHER NOTICE that a hearing will be held on January 22, 2024

at 2:00 p.m. (ET) before Craig T. Goldblatt in the United States Bankruptcy Court for the District

of Delaware, 824 N. Market Street, 3rd Floor, Courtroom 7, Wilmington, Delaware 19801, if an

objection is filed.



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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       The hearing date specified above may be a preliminary hearing or may be consolidated

with the final hearing, as determined by the Court.

       The attorneys for the parties shall confer with respect to the issues raised by the Motion in

advance for the purpose of determining whether a consent judgment may be entered and/or for the

purpose of stipulating to relevant facts such as value of the property, and the extent and validity of

any security interest.

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OF HEARING.



Dated: December 28, 2023                          Respectfully submitted,
Wilmington, Delaware
                                                  /s/ Katherine S. Dute

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                                                  -and-

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